         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 1 of 30




                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                          §
In re:                                                    §       Chapter 11
                                                          §
ULTRA PETROLEUM CORP., et al., 1                          §       Case No. 16-32202 (MI)
                                                          §
                                     Debtors.             §       (Jointly Administered)
                                                          §

               MOTION OF THE AD HOC COMMITTEE OF UNSECURED
              CREDITORS OF ULTRA RESOURCES, INC. FOR AN ORDER
          (I) APPOINTING A TRUSTEE PURSUANT TO SECTION 1104(a) OF
        THE BANKRUPTCY CODE OR (II) IN THE ALTERNATIVE, APPOINTING
      INDEPENDENT DIRECTORS TO THE BOARD OF ULTRA RESOURCES, INC.
    PURSUANT TO SECTIONS 105(a), 1107(a) AND 1108 OF THE BANKRUPTCY CODE

     A HEARING WILL BE CONDUCTED ON THIS MATTER ON JANUARY 19,
     2017 AT 9:00 A.M., PREVAILING CENTRAL TIME, IN COURTROOM 404, 4th
     FLOOR, UNITED STATES BANKRUPTCY COURT FOR THE SOUTHERN
     DISTRICT OF TEXAS, 515 RUSK AVENUE, HOUSTON, TEXAS 77002.

     IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
     WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
     PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU MUST
     FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY COURT
     WITHIN TWENTY-ONE DAYS FROM THE DATE YOU WERE SERVED WITH
     THIS PLEADING. YOU MUST SERVE A COPY OF YOUR RESPONSE ON THE
     PERSON WHO SENT YOU THE NOTICE; OTHERWISE, THE COURT MAY
     TREAT THE PLEADING AS UNOPPOSED AND GRANT THE RELIEF
     REQUESTED.

                    The ad hoc committee of unsecured creditors of Ultra Resources (the “Senior

Creditor Committee”) 2 hereby submits this motion for an Order (i) appointing a chapter 11


1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number (if any), are: Ultra Petroleum Corp. (3838); Keystone Gas Gathering, LLC; Ultra Resources, Inc.
     (0643); Ultra Wyoming, Inc. (6117); Ultra Wyoming LGS, LLC (0378); UP Energy Corporation (4296); UPL
     Pinedale, LLC (7214); and UPL Three Rivers Holdings, LLC (7158).
2
     The Senior Creditor Committee is comprised of senior unsecured creditors of Ultra Resources, Inc. (“Ultra
     Resources” and, together with its subsidiaries, “Opco”) that collectively hold, control, or otherwise have
     discretionary authority over a substantial portion of Ultra Resources’ funded indebtedness arising under or in
     connection with (i) senior notes (“Opco Notes”) issued under that certain Master Note Purchase Agreement
     dated as of March 6, 2008 among Ultra Resources, as issuer, and the purchasers party thereto from time to
     time; and (ii) that certain Credit Agreement dated as of October 6, 2011 among Ultra Resources, as borrower,
     the lenders party thereto from time to time, and JPMorgan Chase Bank, N.A., as administrative agent.


#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 2 of 30




trustee for Opco pursuant to Section 1104(a) of the Bankruptcy Code, or (ii) in the alternative,

appointing independent directors to the board of Ultra Resources pursuant to Sections 105(a),

1107(a) and 1108 of the Bankruptcy Code.

                                   PRELIMINARY STATEMENT

                    1.   From the outset of these cases, the Senior Creditor Committee has been

urging the Debtors to pursue a restructuring strategy based on the respective legal rights of its

creditor constituencies, while allowing for a quick exit that would preserve the Debtors’ going

concern value. Any such restructuring would need to recognize the structural seniority of claims

against Opco, where the Debtors’ primary assets reside.

                    2.   Nonetheless, after failing for months to engage with the Senior Creditor

Committee or even the official committee of unsecured creditors (the “Official Committee”), 3

the Debtors have proposed what purports to be a “joint” plan of reorganization (“Plan”) for all

Debtors, but which instead is a vehicle to transfer value from Opco to the structurally junior

creditors and equity holders of Ultra Petroleum Corp. (“Holdco”).                   Specifically, the Plan

provides for the cram-down of Opco’s funded-debt claims with new notes, with what the PSA

describes as the least favorable terms for the Opco creditors that the law will allow. 4 The

Debtors’ Plan also seeks to attack certain portions of the Opco funded-debt claims, including the

Opco funded-debt holders’ rights to a makewhole. The Debtors have chosen this path despite

their belief that they are solvent. In sum, the Debtors are using these chapter 11 cases for the

benefit of their equity holders and structurally junior creditors at the parent level to the detriment



3
    Indeed, both the Senior Creditor Committee and the Official Committee were entirely excluded from
    negotiations that led to the Plan Support Agreement (the “PSA”).
4
    See PSA, Ex. A “Plan Term Sheet” (“Opco will issue on the Effective Date of the Plan $2.0 billion in new
    unsecured notes bearing the most favorable terms to Opco . . . that are permitted under applicable law.”).

                                                      2
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 3 of 30




of their senior creditors and other parties in interest, who have been completely excluded from

the plan negotiation process.

                    3.   Moreover, the Debtors are operating with blatant conflicts of interest that

have been brought to the fore by the terms of the PSA and the Plan. 5 According to Ultra

Resources’ chapter 11 petition (Case No. 16-32204 [ECF 1]), Opco’s only board members are

Messrs. Michael D. Watford and Garland R. Shaw—both of whom are also officers and

significant equity holders at Holdco.            Not only do these board members stand to profit

generously from the transfer of value to equity holders but, worse still, the PSA and the Plan

reflect that they will receive record breaking compensation in their capacities as officers of both

Holdco and Opco. At the Debtors’ assumed valuation of $6 billion, management stands to

receive its pro rata share of 41% of the pro forma new equity issued under the Plan on account

of its Holdco equity ownership (as well as subscription rights to participate in a rights offering

for an additional 25% of the new equity) and nearly $292.5 million under a management

incentive plan (the “MIP”). 6 Opco’s senior creditors, on the other hand, are being crammed

down by an ostensibly highly solvent company.

                    4.   Messrs. Watford and Shaw appear committed to supporting a restructuring

that reallocates value from Opco (and the Debtors’ senior most creditors) to Holdco, and into

their pockets. This self-dealing is highly inappropriate and should not be countenanced.

                    5.   In an attempt to resolve these glaring conflicts without the need for court

intervention, the Senior Creditor Committee transmitted a letter to the Opco board of directors

(the “Board”) on December 10, 2016, a copy of which is attached hereto as Exhibit A (the

5
    The conflicts of interest may be more pervasive than described herein but the Debtors have not disclosed the
    identity of the non-Debtor parties to the PSA.

6
    See Debtors’ Joint Chapter 11 Plan of Reorganization [ECF No. 817] §§ 3.2(n), 4.4, 4.17.


                                                       3
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 4 of 30




“December 10 Letter”). In the December 10 Letter, the Senior Creditor Committee asked that

the Debtors appoint independent, disinterested directors to the Board. Instead of addressing the

concerns raised in the December 10 Letter, the Debtors’ counsel responded with a letter, a copy

of which is attached hereto as Exhibit B.

                    6.    The Debtors’ response focuses on the Debtors’ view that the Plan is

consistent with the Bankruptcy Code. This response, with which the Senior Creditor Committee

strongly disagrees, 7 misses the point. Tellingly, the Debtors have not denied the existence of the

untenable conflicts of interest of Opco’s board members nor have they demonstrated any

independent analysis undertaken by the Board prior to agreeing to the terms of the PSA on behalf

of Opco’s estate.

                    7.    Based on the pervasive conflicts of interest plaguing these cases that have

resulted in the Board’s failure to act as a zealous advocate for the interests of Opco and its

creditors, and the Board’s steadfast refusal to recognize, much less mitigate, these conflicts, the

Senior Creditor Committee has little choice but to request that this Court appoint a chapter 11

trustee for Opco. In the alternative, the Senior Creditor Committee requests that the Court

condition the continued ability of the Debtors to operate as debtors-in-possession upon the

recusal of Messrs. Watford and Shaw from the Board and the appointment of at least three

independent, disinterested directors in their stead, charged with making any and all decisions for

Opco relating to these cases.




7
    The Debtors go so far as to state that the PSA and the Plan “permit” the Debtors to satisfy the allowed claims
    against Opco. At the Debtors’ purported $6 billion valuation, the Debtors are solvent and have no choice but to
    satisfy all allowed claims against Opco. The Debtors have not undergone a proper market test to evaluate
    whether the terms of the PSA provide any value or benefit to Opco or its creditors. Indeed, the only “value”
    provided by the PSA parties, for which they presumably seek releases, is an inflated equity value that puts
    Holdco’s equity holders and management in the money.

                                                        4
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 5 of 30




                    8.    Current management has been given the time and opportunity to “do the

right thing” and they have failed to do so in every instance. Unfortunately, the terms of the PSA

and the Plan crystalize the concerns expressed by the Senior Creditor Committee early on in

these cases. Indeed, the evidence in support of appointing a trustee or, in the alternative, an

independent board for Opco, is irrefutable. 8

                                               JURISDICTION

                    9.    This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157

and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409. The legal predicates for the relief

requested herein are Sections 105(a), 1104(a), 1107(a) and 1108 of the Bankruptcy Code.

                                               BACKGROUND

                    10.   The Debtors are an oil and natural gas exploration and production

company, which is publicly held at Holdco. As acknowledged in the Declaration of Garland R.

Shaw in Support of Chapter 11 Petitions and First Day Motions [ECF 30], the value of the

Debtors’ enterprise is concentrated almost entirely in Opco, while Holdco has no material assets

other than its equity interests in Opco. Opco’s creditors are, therefore, structurally senior to

Holdco’s creditors, including the holders of unsecured notes issued by Holdco (the “Holdco

Noteholders”).

                    11.   Despite the senior-most creditor status of its constituency, the Senior

Creditor Committee was denied a seat at the PSA bargaining table.                            Instead, the PSA

negotiations were controlled by Holdco and its stakeholders—which include Messrs. Watford


8
  On December 6, 2016, the Senior Creditor Committee served the Debtors with document requests (informally, by
agreement) relating to, among other things, the boards of directors and managers of Ultra Resources, Inc. and each
of its subsidiaries. As of the filing of this Motion, the Debtors have not produced any such documents to the Senior
Creditor Committee.

                                                         5
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 6 of 30




and Shaw—without any input from Opco’s creditors. Although Messrs. Watford and Shaw are

the only Opco directors, they also hold officer and director positions at Holdco: Mr. Watford

serves as the chief executive officer of Holdco and is the chairman of Holdco’s board of

directors, while Mr. Shaw is the chief financial officer and senior vice president of Holdco.

Thus, there is not a single member of Opco’s Board who is free from the glaring conflicts of

interest in these chapter 11 cases.

                    12.    Given the composition of the bargaining parties, it is not surprising that

the PSA contemplates a restructuring designed to benefit solely Holdco’s creditors, equity

holders and management at the expense of senior Opco creditors. Specifically, under the Plan,

the Holdco Noteholders and equity holders (collectively, the “Holdco Stakeholders”) will,

collectively, receive nearly 100% (subject to dilution) of the equity interests in the reorganized

company, while Opco’s senior creditors will be crammed down with inferior paper of a

reorganized Opco encumbered with $2.2 billion of debt.

                    13.    Holdco’s senior management team and board members, including Messrs.

Watford and Shaw, will benefit directly from the terms of the PSA and the Plan in their

capacities as Holdco’s equity holders. The Plan provides that Holdco’s equity holders will

receive 41.0% of the reorganized equity post-rights offering dilution but before dilution by the

MIP, under the Debtors’ $6 billion valuation scenario. As of March 23, 2016, the Debtors report

that their directors and executive officers held in the aggregate approximately 5,161,040 of

Holdco’s common shares, or 3.4% of Holdco’s equity interests. 9 As of that same date, Mr.

Watford owned or held a beneficial interest in 3,981,265 of those common shares, or 2.6% of

Holdco’s equity. 10       As such, Mr. Watford’s recovery as a Holdco shareholder represents


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     See Ultra Petroleum Proxy Statement, April 4, 2016, pursuant to Securities and Exchange Act of 1934 § 14 (a).
10
     Id.

                                                         6
#4834-2586-4511v1
           Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 7 of 30




approximately 1.06% of the reorganized equity—or approximately $42.5 million—post-rights

offering dilution but before dilution by the MIP, under he Debtors’ $6 billion valuation scenario

(before accounting for his share of the MIP or potential participation in the rights offering

described below). As of that same date, Mr. Shaw owned or held a beneficial interest in 64,888

of those common shares, or 0.4% of Holdco’s equity. 11 Mr. Shaw’s recovery as Holdco’s

shareholder represents approximately 0.02% of the reorganized equity—or approximately $0.7

million—post-rights offering dilution but before dilution by the MIP, under the Debtors’ $6

billion valuation scenario (before accounting for his share of the MIP or potential participation in

the rights offering described below).

                    14.   The Plan further contemplates a $580 million rights offering for new

common stock (the “Rights Offering”) open for participation by the Holdco Stakeholders who, if

they choose to participate, will have the right to further increase their equity stake in the

reorganized Debtors. See Plan, Section 4.4. In connection with the Rights Offering, the Debtors

filed a motion seeking approval of a backstop commitment agreement whereby, as consideration

for their “commitment” to backstop the Rights Offering, certain of the Holdco Stakeholders are

guaranteed additional distribution equal to 6% of the Rights Offering shares. See Debtors’

Motion for Entry of an Order Authorizing (i) Debtors’ Entry Into Backstop Commitment

Agreement and (ii) Payment and Allowance of Related Fees and Expenses as Administrative

Claims [ECF 820].

                    15.   Finally, the Plan establishes the MIP, under which the Debtors’

management is entitled to 7.5% of the fully-diluted shares of reorganized Holdco, translating, at

the posited total enterprise value of $6 billion, into a total MIP consideration of $292.5 million.

Of that $292.5 million, forty percent (40%) will be distributed on the effective date of the Plan to
11
     Id.

                                                 7
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 8 of 30




individuals identified by Holdco’s current board of directors. In other words, the current Holdco

board, of which Mr. Watford serves as the chairman, will determine the members of

management of the reorganized company who will benefit from the MIP post-effective date.

The remaining sixty percent (60%) of the reserved equity will be allocated at the discretion of the

post-effective date board. The post-effective date board will consist of the existing board and

two additional members, which members must be acceptable to Mr. Watford.

                                            ARGUMENT

                    16.   The Debtors’ senior management is supporting a plan of reorganization

that inappropriately redistributes significant value from Opco’s estate and creditors to the

structurally junior Holdco stakeholders. The Plan also incorrectly suggests there is a weakness

in the makewhole provisions in the Opco Notes by providing that the allowed amount of the

claims based on the makewhole or premium provisions shall not be allowed, pending

determination by the Bankruptcy Court, and “shall be reduced to account for the fact that interest

on the [new debt] should be taken into account.” No independent fiduciary for Opco could have

supported the Plan on such terms. To add insult to injury, the same Plan grants releases to the

Debtors’ (including Opco’s) officers and directors for, among other things, actions taken and/or

omitted in connection with entering into the PSA and prosecuting the Plan.

                    17.   Given these circumstances, before these cases progress further, a chapter

11 trustee must be appointed with sole decision making authority with respect to Opco or, in the

alternative, the Debtors must appoint at least three independent, disinterested directors to Opco’s

Board, with full and sole authority to negotiate a plan of reorganization for Opco.




                                                  8
#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 9 of 30




                    I.    A Chapter 11 Trustee Is Necessary to Address the Existing Conflicts
                          of Interest and Provide Independent Decision-Making to Opco

                    18.   There are glaring conflicts of interest at play in these cases that prevent

Messrs. Watford and Shaw from carrying out their fiduciary duties to Opco’s estate and its

creditors, which conflicts have resulted in a Plan that tramples on the interests of Opco’s

stakeholders.        Specifically, not only must Messrs. Watford and Shaw balance multiple

contradictory fiduciary roles but, as equity holders in Holdco and management of these Debtors,

they stand to personally benefit from the Plan at the expense of the very same Opco constituency

to which they owe fiduciary duties (by virtue of Opco’s role as a debtor in possession).

A. Cause Exists to Appoint a Chapter 11 Trustee under Section 1104(a)(1) and 1104(a)(2) of
   the Bankruptcy Code

                    19.   Under Section 1104(a) of the Bankruptcy Code, the Court must appoint a

chapter 11 trustee either where “cause” exists for such appointment, or where such appointment

is in the interests of the estate’s parties in interest. Under the circumstances of these cases, a

chapter 11 trustee must be appointed for Opco under either prong of this test.

                    20.   First, pursuant to Section 1104(a)(1), a bankruptcy court must appoint a

chapter 11 trustee where “cause” exists. See 11 U.S.C. § 1104(a)(1). “Cause” under Section

1104(a)(1) is not limited by the list enumerated in Section 1104(a)(1) (“fraud, dishonesty,

incompetence, or gross mismanagement . . ., or similar cause”) (emphasis added), and courts are

granted wide latitude in determining such. In re Ashley River Consulting, LLC, 2015 Bankr.

LEXIS 1008, *28-29 (Bankr. S.D.N.Y. Mar. 31, 2015).

                    21.   Numerous courts have held that conflicts of interests provide cause for the

appointment of a trustee. In re Patman Drilling Int’l, Inc., No. 07-34622 (SGJ), 2008 WL

724086, at *6 (Bankr. N.D. Tex. Mar. 14, 2008) (noting that cause exists, among other reasons,



                                                   9
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 10 of 30




“because of the overwhelming conflicts of interest of the Debtor's management”); see also In re

Ashley River Consulting, LLC, No. 14-13406 (MG), 2015 WL 1540941, at *9 (Bankr. S.D.N.Y.

Mar. 31, 2015) (finding that conflicts of interests, including “inappropriate relationships between

corporate parents and [its] subsidiaries,” constitute “cause” for appointment of a trustee under

Section 1104(a)(1)) (quoting In re Altman, 230 B.R. 6, 16 (Bankr. D. Conn. 1999)); In re Marvel

Entm’t Grp., Inc., 140 F.3d 463, 471 (3rd Cir. 1998) (finding cause to appoint trustee because

“unhealthy conflict of interest”); In re Bowman, 181 B.R. 836, 845 (Bankr. D. Md. 1995)

(“Because the conflict of interest cannot be reconciled with the debtor remaining in possession,

the court is compelled either to appoint a trustee or to reconvert this case to a Chapter 7.”); In re

Cajun Elec. Power Coop., 191 B.R. 659, 661-62 (Bankr. M.D. La. 1995), aff’d Cajun Elec.

Power Coop. v. Central La. Elec. Coop. (In re Cajun Elec. Power Coop.), 74 F.3d 599, 600 (5th

Cir. 1996) (noting that “cause” exists where there were “many conflicts of interest that [debtor’s]

management, directors and members ha[d] with each other and with their creditors and the

estate.”). Indeed, courts in the Fifth Circuit recognize that where conflicts of interest exist in

connection with a proposed plan of reorganization, “the proper remedy [is] to come to the Court

and ask that a trustee be appointed.” In re Cajun Elec. Power Coop., 191 B.R. at 661-62.

                    22.   Importantly, upon the filing of a bankruptcy case, a director’s duties to a

corporation and its shareholders do not discontinue. Governance of the debtor, however, is

supplanted by certain Bankruptcy Code provisions. First, all of the corporation’s interest in

property are immediately transferred into an estate.        See 11 U.S.C. §541(a).      Second, the

Bankruptcy Code provides for takeover of the estate by a trustee. See 11 U.S.C. §§ 323, 1106(a),

1108. A debtor in possession has the rights and powers and must perform all the functions of a

trustee. See 11 U.S.C. §1107. It is well-established that a trustee, or the debtor in possession,



                                                  10
#4834-2586-4511v1
          Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 11 of 30




owes certain fiduciary duties similar to a director’s duties, but that a trustee’s constituency is

“broadened under the [Bankruptcy Code] to include not only the debtor and its shareholders, but

also all of the debtor’s creditors.” In re Schepps Food Stores, Inc., 160 B.R. 792, 797 (Bankr.

S.D. Tex. 1993) (noting, in the context of an adversary proceeding seeking an injunction to

prevent the continuation of a state suit, that “while state law standards continue to apply to post-

petition fiduciary obligations, the rights and remedies of aggrieved shareholders and creditors

during the post-petition/pre-confirmation period are regulated by the Bankruptcy Code which

controls state law pursuant to the Supremacy Clause of the United States Constitution. U.S.

Const. art. VI.”). This construct in of itself can present a conflict of interest for a debtor's

management who, on the one hand, must act in the best interests of the corporation and

shareholders, and on the other hand, must act in the best interests of the estate, shareholders and

creditors.

                    23.   Here, the Board is incapacitated not only by the conflict of interest that

arises in the context of a bankruptcy filing, but by the massive consideration they stand to

receive as equity holders and through the MIP if the Plan is confirmed. It is undeniable that both

members of Opco’s Board have a substantial pecuniary interest in seeing recoveries to Holdco

increased, which renders their personal interests directly adverse to the interests of creditors of

Opco. There is not a single independent director at Opco and the Debtors have resisted all

efforts to remedy this situation by appointing independent directors to Opco. Allowing this

conflict to continue unabated undermines the very integrity of the bankruptcy process. Thus, a

chapter 11 trustee must be appointed to make such impartial decisions on behalf of the Opco

estate.




                                                  11
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 12 of 30




                    24.   Second, as an entirely alternative basis, the appointment of a trustee in

Opco’s chapter 11 case is warranted because it is “in the best interests of creditors, equity

security holders, and other interests of the estate” under Section 1104(a)(2).            11 § U.S.C.

1104(a)(2). In determining whether to appoint a trustee under Section 1104(a)(2), courts balance

the benefits derived by a trustee’s appointment with the costs of such appointment. In re Cajun

Elec. Power Coop., 191 B.R. at 661-62. Under Section 1104(a)(2) courts consider, among other

factors, the trustworthiness of the debtors, the reasons for the debtor’s behavior, and reliance by

and harms to third parties. See In re New Orleans Paddlewheels, Inc., 350 B.R. 667, 692 (Bankr.

E.D. La. 2006) (appointing trustee to “also function as the [debtor’s] board of directors”); In re

Evans, 48 B.R. 46, 48 (Bankr. W.D. Tex. 1985) (other factors to be considered include

“[c]onclusive evidence of detriment to the estate,” and “[p]ossibilities of future rehabilitation”).

                    25.   It is evident that the benefits to Opco’s estate if a trustee is appointed far

outweigh the minimal costs (such as retaining counsel for the trustee and time for the trustee to

familiarize himself or herself with the case). Here, the Debtors’ trustworthiness to protect the

interests of all creditors is in serious doubt because of the conflicts of interest existing at the

management level. Where such grave conflicts of interest exist, there is a presumption that

current management is unable to make impartial decisions necessary to properly conduct the

reorganization process and appointing a trustee would be in the best interests of creditors and

equity holders. See In re L. S. Good & Co., 8 B.R. 312, 315 (Bankr. N.D. W. Va. 1980) (Where

“current management of [debtor is] in a position of having grave potential conflicts of interest[,]

the presumption arises that the current management of [debtor] will be unable to make []

impartial investigations and decisions”). Indeed, the Debtors can cite no legitimate reason for

denying Opco creditors the opportunity to participate in these chapter 11 cases and entitlement to



                                                   12
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 13 of 30




their full recoveries. Instead, it appears that the Debtors plan to extract as much value from

Opco because it is in the self-interest of Debtors’ management. A debtor-in-possession cannot

ignore its fiduciary obligations to all creditors by putting its own interests before those of its

beneficiaries.

                    26.   The Debtors’ support of a Plan that is opposed by their senior-most

creditors will inevitably lead to a protracted restructuring process to the detriment of all

creditors. A trustee, therefore, is necessary to “preside in an objective and impartial manner to

bring the case to a swift and successful conclusion.” In re Cajun Elec. Power Coop., 191 B.R. at

*10. A capable and objective trustee would act as a fiduciary of Opco’s estate and zealously

represent the interests of Opco’s stakeholders, rather than being controlled by Holdco. In re

Colorado-Ute Electric Association, Inc., 120 B.R. 164, 177 (Bankr. D. Colo. 1990); see also In

re New Orleans Paddlewheels, Inc., 350 B.R. at 693 (Bankr. E.D. La. 2006) (“With a trustee, all

interests are assured a neutral party with the best interests of the creditors at heart.”). A trustee

will ensure that a reorganization plan is submitted to the Court that is fair and equitable to all

creditors, unlike the currently proposed Plan. In re Cajun Elec. Power Coop., 191 B.R. at *11

(appointing trustee under Section 1104(a)(2) because “[a] trustee will able to ensure that a fair

plan of reorganization will be submitted to the Court.”).

                    27.   Finally, appointing a chapter 11 trustee will protect Opco’s creditors and

the public interest, thus fulfilling the purposes of Section 1104(a). See, e.g., In re Ionosphere

Clubs, Inc., 113 B.R. 164, 168 (Bankr. S.D.N.Y. 1990) (citing legislative history of section 1104

to the effect that“[t]he twin goals of the standard for the appointment of a trustee should be

protection of the public interest and the interests of creditors”); Taub v. Adams, 2010 U.S. Dist.

LEXIS 104805, *17-18 (E.D.N.Y. Aug. 30, 2010) (“[A]ppointing a Chapter 11 trustee pursuant



                                                  13
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 14 of 30




to § 1104(a)(2) is merely an acknowledgement that under the circumstances — and despite

whatever efforts the debtor may have made in the past — it is now in the interest of creditors and

other interests of the estate to have an independent third-party assume control.”). Appointing a

trustee would protect Opco’s creditors by guaranteeing greater fairness in the reorganization

process. It would also protect the public interest in avoiding future conflicts of interest and

safeguarding the role of a fiduciary as disinterested and independent.

                    II.   In the Alternative, Watford and Shaw Should Be Removed and
                          Independent Directors Should Be Appointed for Opco

                    28.   In the alternative, the Senior Creditor Committee submits that, should the

Court determine that appointment of a chapter 11 trustee for Opco is not currently warranted,

Messrs. Watford and Shaw should recuse themselves from Plan negotiations and the Debtors

should be required to appoint at least three independent, disinterested directors to the Board to

serve as responsible officers in Opco’s case.

                    29.   Having independent, disinterested directors on the Board is critical to

providing Opco’s creditors with an independent estate fiduciary to uphold their interests. The

independent, disinterested board members would be charged with negotiating a plan of

reorganization on behalf of Opco and its stakeholders, thereby providing a voice to the otherwise

disenfranchised senior creditors. An independent, disinterested Board would also rid Holdco’s

management of their inherent conflicts of interest, allowing them to fulfill their fiduciary duties

to Holdco’s estate without any impropriety.         Such a result will not only increase creditor

confidence in the Debtors, but also in the plan confirmation process.

                    30.   Bankruptcy courts are authorized under the Bankruptcy Code to appoint

responsible officers, including independent, disinterested directors, to oversee and administer a

debtor’s estate. Sections 1107(a) and 1108 give bankruptcy courts the power to direct debtors’


                                                  14
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 15 of 30




management and directors. Pursuant to Section 1107(a), “[s]ubject . . . to such limitations or

conditions as the court prescribes, a debtor in possession shall have all the rights, other than the

right to compensation under section 330 of this title, and powers, and shall perform all the

functions and duties . . . of a trustee serving in a case under this chapter.” U.S.C. § 1107(a)

(emphasis added). Likewise, Section 1108 states, in relevant part, “[u]nless the court, on

request of a party in interest and after notice and a hearing, orders otherwise, the trustee may

operate the debtor’s business.” U.S.C. § 1108 (emphasis added). Under Section 105(a), courts

are granted broad remedial power to grant orders as necessary to carry out the provisions of the

Bankruptcy Code.” U.S.C. § 105(a). Read in conjunction with Sections 1107(a) and 1108,

Section 105(a) grants a bankruptcy court broad remedial power to order the appointment of an

independent board of directors or committee when necessary. In re Blue Stone Real Estate,

Const. & Development Corp., 392 B.R. 897, 903 (Bankr. M.D. Fl. 2008) (bankruptcy courts can

“alter the powers of the Debtors’ boards of directors” under section 1107(a)).

                    31.   The appointment of an independent, disinterested Board with authority to

negotiate a plan of reorganization for Opco is more than justified here.          An independent,

disinterested Board would protect the interests of Opco and its stakeholders while promoting the

integrity of the bankruptcy system, which, courts agree, supports appointing a responsible

officer.    In re Communications Options Inc., 299 B.R. 481, 492 (Bankr. S.D. Ohio 2003)

(ordering appointment of a responsible officer based on “numerous examples of actions taken by

the debtors solely to protect its insiders”); In re Gaslight Club Inc., 782 F.2d 767, 769-70 (7th

Cir. 1986) (“The case law demonstrates that the court had considerable authority to interfere with

the management of a debtor corporation in order to protect the creditors’ interests.”).




                                                  15
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 16 of 30




                    32.   Under similar circumstances, bankruptcy courts have authorized the

appointment of responsible officers with decision-making authority to carry out the duties of a

board of directors or management during the reorganization process. See In re Property Co. of

America Joint Venture, 110 B.R. 244, 245-246 (Bankr. N.D. Tex. 1990) (appointing

disinterested, responsible officer under § 1107 “to serve as interim [CEO] and exercise business

judgment to resolve any business decisions where the [debtors] could not agree”); In re FSC

Corp., 38 B.R. 346, 349 (Bankr. W.D. Pa. 1983) (affirming appointment of responsible officer

who was granted power to vote stock of wholly-owned subsidiaries); In re United Press

International, Inc., 60 B.R. 265 (Bankr. D.D.C. 1986) (order abolishing board of directors and

granting management authority to file reorganization plan in debtor’s name).

                    33.   Appointing independent directors to replace Messrs. Watford and Shaw

would protect the interests of Opco’s creditors, restore faith and confidence in the chapter 11

reorganization process, and facilitate the efficient and speedy resolution of these cases. As such,

the Court should order the Debtors to appoint independent, disinterested directors to the Board

with, among others, the following responsibilities:

                          (i)     Serve as independent fiduciaries to safeguard the interests of

Opco’s estate and its stakeholders throughout these chapter 11 cases;

                          (ii)    Maintain full and sole authority to negotiate and finalize a plan of

reorganization for Opco; and

                          (iii)   Possess sole decision-making authority with respect to any and all

transactions where there are potential conflicts of interest with Holdco and/or its stakeholders or

any other conflicts.




                                                   16
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 17 of 30




                                      RESERVATION OF RIGHTS

                    34.   On December 6, 2016, the Senior Creditor Committee served the Debtors

with document requests (informally, by agreement) relating to, among other things, the boards of

directors and managers of Ultra Resources, Inc. and each of its subsidiaries. Although the Senior

Creditor Committee requested that documents responsive to such requests be produced on or

before December 20, 2016, to date, the Debtors have not produced any such documents to the

Senior Creditor Committee. 12 The Senior Creditor Committee reserves all rights to supplement

this motion based on documents obtained in discovery.



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12
  On December 23, 2016, the Debtors indicated they will be making a production, but as of the filing of this Motion
no such production has been received.

                                                        17
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 18 of 30




                                         CONCLUSION

                    35.   Based on the foregoing, the Senior Creditor Committee respectfully

requests that the Court enter an order appointing a chapter 11 trustee or, in the alternative, an

independent, disinterested board of directors for Opco to perform the duties listed herein, or such

other relief that the Court deems proper. Annexed hereto as Exhibit C is a proposed form of

order that provides for the relief requested herein


Dated: December 23, 2016                  NORTON ROSE FULBRIGHT US LLP
       Houston, Texas
                                           By: /s/ Jason Boland
                                           William R. Greendyke (TX Bar No. 08390450)
                                           R. Andrew Black (TX Bar No. 02375110)
                                           Jason L. Boland (TX Bar No. 24040542)
                                           Fulbright Tower
                                           1301 McKinney, Suite 5100
                                           Houston, Texas 77010-3095
                                           Telephone: (713) 651-5151
                                           Facsimile: (713) 651-5246
                                           Email: william.greendyke@nortonrosefulbright.com
                                                    andrew.black@nortonrosefulbright.com
                                                    jason.boland@nortonrosefulbright.com

                                           - and -

                                           MILBANK, TWEED, HADLEY & McCLOY LLP

                                           Dennis F. Dunne (pro hac vice)
                                           Evan R. Fleck (pro hac vice)
                                           Andrew M. Leblanc (pro hac vice)
                                           28 Liberty Street
                                           New York, New York 10005
                                           Telephone: (212) 530-5000
                                           Facsimile: (212) 530-5219
                                           Email: ddunne@milbank.com
                                                   efleck@milbank.com
                                                   aleblanc@milbank.com

                                          Attorneys for the Ad Hoc Committee of
                                          Unsecured Creditors of Ultra Resources, Inc.



                                                 18
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 19 of 30




                                    Exhibit A

                                December 10 Letter




#4834-2586-4511v1
                Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 20 of 30



                           MILBANK, TWEED, HADLEY & MCˍ CLOY LLP
                                         1850 K STREET, NW, SUITE 1100
   NEW YORK                                                                                        BEIJING
   212-530-5000                              WASHINGTON, DC 20006                                8610-5969-2700
 FAX: 212-530-5219                                                                             FAX: 8610-5969-2707

                                                      202-835-7500
  LOS ANGELES                                                                                    HONG KONG
   424-386-4000                                                                                  852-2971-4888
                                                   FAX: 202-263-7586
 FAX: 213-629-5063                                                                             FAX: 852-2840-0792

     LONDON                                                                                         SEOUL
  44-20-7615-3000                                 Andrew M. Leblanc                              822-6137-2600
FAX: 44-20-7615-3100                              DIRECT DIAL NUMBER                           FAX: 822-6137-2626
                                                       202-835-7574
                                               E-MAIL: Aleblanc@milbank.com
   FRANKFURT                                                                                     SINGAPORE
  49-69-71914-3400                                                                                65-6428-2400
FAX: 49-69-71914-3500                                                                           FAX: 65-6428-2500

     MUNICH                                     December 10, 2016                                   TOKYO
  49-89-25559-3600                                                                               813-5410-2801
FAX: 49-89-25559-3700                                                                          FAX: 813-5410-2891

                                                                                                 SÃO PAULO
                                                                                                55-11-3927-7700
                                                                                              FAX: 55-11-3927-7777


       VIA EMAIL

       Board of Directors of Ultra Resources, Inc.
       c/o Kirkland & Ellis LLP
       David R. Seligman, P.C.
       300 North LaSalle
       Chicago, IL 60654
       david.seligman@kirkland.com


                 Re:    In re Ultra Petroleum Corp., et. al., Case No. 16-32202

       Members of the Board:

               As you know, we represent an ad hoc committee (the “Ad Hoc Senior Committee”) of
       unsecured creditors of Ultra Resources, Inc. (“Opco”), which creditors control, or otherwise have
       discretionary authority over the disposition of certain unsecured indebtedness arising under or in
       connection with (i) senior notes issued under that certain Master Note Purchase Agreement dated
       as of March 6, 2008 (as amended, modified, or supplemented in accordance therewith) among
       Opco, as issuer, and the purchasers party thereto from time to time, and (ii) that certain Credit
       Agreement dated as of October 6, 2011 (as amended, modified, or supplemented in accordance
       therewith) among Opco, as borrower, the lenders party thereto from time to time, and JPMorgan
       Chase Bank, N.A., as administrative agent. We write to express the Ad Hoc Senior Committee’s
       concern regarding the glaring conflicts of interest at play in the Debtors’ chapter 11 cases and to
       request that the Debtors promptly address this concern.

               Specifically, there is no independent fiduciary safeguarding the best interests of the Opco
       estate. There are no independent directors on Opco’s board. According to Opco’s chapter
       11 petition, Case No. 16-32204 [Docket No. 1], its only board members are Michael D. Watford,
       chief executive officer and chairman of the board of Ultra Petroleum Corp. (“Holdco”), and
       Garland R. Shaw, chief financial officer and senior vice president at Holdco. The Ad Hoc Senior
      Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 21 of 30


December 10, 2016
Page 2

Committee urges the Debtors to appoint one or more independent directors to Opco’s board of
directors, with full authority to negotiate a plan of reorganization for Opco, and separate counsel
and advisors.

        The Debtors’ recently published plan support agreement (the “PSA”), purports to provide
for a joint plan for all Debtors (the “Plan”); however, the restructuring contemplated thereby is
beneficial solely to Holdco and its stakeholders at the expense of the Opco estate. This is not
surprising as the PSA reflects an agreement between Holdco and its stakeholders, without any
input from Opco’s stakeholders who do not support the PSA or the terms of the Plan. In fact,
neither the Official Committee of Unsecured Creditors nor the Ad Hoc Senior Committee were
consulted before the Debtors entered into the PSA.

        No independent estate fiduciary for Opco would, or could, have approved the terms
of the restructuring contemplated by the PSA. There are many other confirmable plan
constructs that would not only result in a confirmable plan vis-a-vis the Holdco estate, but that
should be acceptable to the Opco board of directors in the exercise of their fiduciary duties. The
fact that the Opco board of directors, whose creditors are structurally senior to those of Holdco,
either failed to consider or rejected such alternatives suggests that such directors are conflicted
by the multiple fiduciary roles they must consider or, worse, conflicted by the economic benefit
they stand to achieve on a personal level by virtue of the proposed Plan, which in certain respects
are unprecedented.

        Indeed, the PSA requires that the Plan provide for the establishment of a management
equity incentive plan (the “MIP”), under which 7.5% of the shares of Holdco will be reserved for
the Debtors’ management. In addition, the PSA contemplates a significant recovery by Holdco’s
current equity holders, among whom are several members of the Debtors’ management team and
board, including Mr. Watford. Thus, Opco’s directors stand to receive outsized compensation
not only on account of their equity ownership, which appears to be based on an overstated
valuation, but also on account of the MIP. Meanwhile, Opco is expected to be encumbered with
new debt and its creditors crammed down with new, inferior paper. If Mr. Watford and the
Debtors’ board of directors believed their valuation, they could go out to the public markets and
raise a sufficient amount of cash to satisfy their senior creditors in full.

        Against this backdrop, it is implausible that a fiduciary for Opco would have advocated
for that outcome instead of refusing to accept the treatment for Opco stakeholders proposed by
the PSA. Yet, the Plan proposes to grant these officers and directors broad releases for, among
other things, actions taken and/or omitted in connection with entering into the PSA and the MIP.

        The Debtors’ officers and directors have effectively opted to support a plan that
reallocates value from Opco to Holdco, and into their own pockets. It is therefore critical that,
before these cases progress any further, an independent, disinterested board be installed at Opco,
with full authority to negotiate a plan of reorganization for Opco and sole decision making
authority with respect to any and all transactions on which this conflict exists. With separate
counsel and advisors, a truly independent non-conflicted board would ensure that there is an
independent fiduciary safeguarding the interest of Opco and its stakeholders.

       The Ad Hoc Senior Committee would like to continue to work constructively with the
Debtors and, as such, we ask that you move quickly to address this critical issue without need for
      Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 22 of 30


December 10, 2016
Page 3

Court intervention. Given the schedule that the Debtors are seeking to impose, if the Debtors
have not addressed this matter to the Ad Hoc Senior Committee’s satisfaction by December 14,
2016, we may seek relief from the Court. We look forward to hearing from you.


                                                Sincerely,

                                                /s/ Andrew M. Leblanc

                                                Andrew M. Leblanc




cc:    Christine A. March, Esq., Office of the United States Trustee
       Alfredo R. Perez, Esq., counsel to the official committee of unsecured creditors
       Chris Lopez, Esq., counsel to the official committee of unsecured creditors
       Michael B. Slade, Esq., counsel to the Debtors
       Gregory F. Pesce, Esq., counsel to the Debtors
       Christopher T, Greco, Esq., counsel to the Debtors
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 23 of 30




                                    Exhibit B

                                December 12 Letter




#4834-2586-4511v1
              Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 24 of 30




                                                            300 North LaSalle
                                                          Chicago, Illinois 60654
      David R. Seligman, P.C.
       To Call Writer Directly:                              (312) 862-2000                                          Facsimile:
           (312) 862-2463                                                                                         (312) 862-2200
    david.seligman@kirkland.com                             www.kirkland.com




                                                         December 12, 2016



      VIA ELECTRONIC MAIL

      Andrew M. Leblanc
      Milbank, Tweed, Hadley & McCloy LLP
      1850 K Street, NW, Suite 1100
      Washington, DC 20006


                        Re:       In re Ultra Petroleum Corp., et al., Case No. 16-32202

      Dear Andrew:

              We received your letter dated December 10, 2016 (the “Milbank Letter”). At its most
      fundamental level, the Milbank Letter ignores that the restructuring contemplated by the PSA
      and the Plan will permit Opco (and each of the other Debtors) to satisfy all allowed claims
      against it, including any allowed claims held by members of the Ad Hoc Senior Committee.
      Specifically, the Plan (which is subject to confirmation by the Bankruptcy Court) provides that
      each holder of an allowed claim against Opco that is held by your constituents shall receive on
      account of such such claim property of a value, as of the effective date of the Plan, equal to the
      allowed amount of such claim, which is consistent with the Bankruptcy Code. Against this
      backdrop, we respectfully disagree with your assertion in the Milbank Letter that “[n]o
      independent estate fiduciary for Opco would, or could, have approved the terms of the
      restructuring contemplated by the PSA.”

              As you know, on December 2, 2016 we reached out to the advisors to the Ad Hoc Senior
      Committee and suggested that we use the next several weeks to negotiate in good faith to attempt
      to reach a consensual agreement regarding Opco’s restructuring, and those discussions are in
      process at an advisor level. While we disagree with the assertions made in the Milbank Letter,
      we would like to discuss them with you at your earliest convenience and to continue the ongoing
      discussions with you and your constituency in an effort to determine whether consensus can be
      achieved. To that end, please let us know when would be a convenient time for a telephone call
      early this week.




Beijing   Hong Kong   Houston     London   Los Angeles     Munich    New York       Palo Alto   San Francisco   Shanghai   Washington, D.C.
      Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 25 of 30




Andrew M. Leblanc
December 12, 2016
Page 2


                                                Sincerely,

                                                 /s/ David R. Seligman, P.C.

                                                David R. Seligman, P.C.



cc:   Christine A. March, Esq., Office of the United States Trustee
      Michael B. Slade, Esq., counsel to the debtors and debtors in possession
      Christopher T. Greco, Esq., counsel to the debtors and debtors in possession
      Gregory F. Pesce, Esq., counsel to the debtors and debtors in possession
      Matthew C. Fagen, Esq., counsel to the debtors and debtors in possession
      Alfredo R. Perez, Esq., counsel to the official committee of unsecured creditors
      Chris Lopez, Esq., counsel to the official committee of unsecured creditors
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 26 of 30




                                    Exhibit C

                                  Proposed Order




#4834-2586-4511v1
         Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 27 of 30




                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                         §
In re:                                                   §       Chapter 11
                                                         §
ULTRA PETROLEUM CORP., et al., 1                         §       Case No. 16-32202 (MI)
                                                         §
                                    Debtors.             §       (Jointly Administered)
                                                         §


                      ORDER GRANTING MOTION OF THE AD
                HOC COMMITTEE OF UNSECURED CREDITORS OF
             ULTRA RESOURCES, INC. FOR AN ORDER (I) APPOINTING A
           TRUSTEE PURSUANT TO SECTION 1104(a) OF THE BANKRUPTCY
          CODE OR (II) IN THE ALTERNATIVE, APPOINTING INDEPENDENT
         DIRECTORS TO THE BOARD OF ULTRA RESOURCES, INC. PURSUANT
          TO SECTIONS 105(a), 1107(a) AND 1108 OF THE BANKRUPTCY CODE

         Upon consideration of the Motion of the Ad Hoc Committee of Unsecured Creditors of

Ultra Resources Inc. for an Order (I) Appointing a Trustee Pursuant to Section 1104(a) of the

Bankruptcy Code or (II) In the Alternative, Appointing Independent Directors to the Board of

Ultra Resources, Inc. Pursuant to Sections 105(a), 1107(a), and 1108 of the Bankruptcy Code

(the “Motion”), 2 and after due deliberation and sufficient cause appearing therefore from the

evidence and arguments presented and the record of this case, the Court concludes that: (a) the

Court has jurisdiction over this matter and constitutional authority to enter final orders on this

matter; (b) the movant has established good and sufficient cause for the relief requested; (c) due

notice of the Motion has been provided and no other or further notice of the Motion is necessary;




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number (if any), are: Ultra Petroleum Corp. (3838); Keystone Gas Gathering, LLC; Ultra Resources, Inc.
    (0643); Ultra Wyoming, Inc. (6117); Ultra Wyoming LGS, LLC (0378); UP Energy Corporation (4296); UPL
    Pinedale, LLC (7214); and UPL Three Rivers Holdings, LLC (7158).
2
    Capitalized terms not defined herein shall have the meaning set forth in the Motion.


#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 28 of 30




and (d) the relief sought is in the best interests of the estates and all parties in interest.

Accordingly, the Court hereby GRANTS the Motion as set forth herein.

IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:

         1.         The Motion is granted as set forth herein.

         2.

                    _______ The United States Trustee, in consultation with the Senior Creditor

Committee, shall appoint a chapter 11 trustee for Ultra Resources, Inc. under 11 U.S.C. § 1104.

                    _______ The Debtors shall appoint, in consultation with the Senior Creditor

Committee, no less than three (3) independent, disinterested directors to the board of Ultra

Resources, Inc. no later than ten (10) business days after entry of this order; with such

independent directors having the authority and responsibility to (i) serve as independent

fiduciaries to safeguard the interests of the estates of Ultra Resources, Inc. and its subsidiaries

and their stakeholders throughout these chapter 11 cases; (ii) maintain full and sole authority to

negotiate and finalize a plan of reorganization for Ultra Resources, Inc. and its subsidiaries; and

(iii) possess sole decision-making authority with respect to any and all transactions where there

are potential conflicts of interest with Ultra Petroleum Corp. and/or its stakeholder or any other

conflicts.




                                                     2
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 29 of 30




         3.         The Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation of this Order.



Signed: __________, 2017
       Houston, Texas                                 HONORABLE MARVIN ISGUR
                                                      UNITED STATES BANKRUPTCY JUDGE




                                                      3
#4834-2586-4511v1
        Case 16-32202 Document 875 Filed in TXSB on 12/23/16 Page 30 of 30




                                CERTIFICATE OF SERVICE


         I hereby certify that on December 23, 2016, a true and correct copy of the foregoing

document was served via email on all parties registered to receive service through the Court’s

CM/ECF system and by first class U.S. mail to all parties listed on the Debtors’ Seventh

Amended Master Service List at Dkt. No. 640.




                                                  /s/ Nelly C. Almeida
                                                   Nelly C. Almeida




#4834-2586-4511v1
